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                                                                                1200 New Jersey Ave., SE
                                                                                  Washington, DC 20590


                                        March 20, 2025


Marie Therese Dominguez, Commissioner
New York State Department of Transportation
50 Wolf Road
Albany, NY 12232

Ydanis Rodriguez, Commissioner
New York City Department of Transportation
55 Water Street, 9th Floor
New York, NY 10041

Catherine T. Sheridan, President
MTA Bridges and Tunnels
2 Broadway, 23rd Floor
New York, NY 10004

Dear Commissioner Dominguez, Commissioner Rodriguez, and President Sheridan:

I am writing pursuant to my February 20, 2025 letter, providing you until March 21, 2025, to
cease tolling operations that were initiated through the November 21, 2024, Value Pricing Pilot
Program (VPPP) Agreement. The Secretary has directed that I extend the period of time to
comply by 30 days. Accordingly, toll operations must cease by April 20, 2025.

Please work with Rick Marquis, FHWA’s New York Division Administrator, to provide the
necessary details and updates regarding the cessation of toll operations.

                                            Sincerely,




                                            Gloria M. Shepherd
                                            Executive Director
